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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE: LOCAL TV ADVERTISING                            Master Docket No. 18-06785
ANTITRUST LITIGATION
                                                       MDL No. 2867
This document applies to all actions.
                                                       The Honorable Judge Virginia M. Kendall


 MOTION FOR LEAVE TO FILE PLAINTIFFS’ MOTION TO COMPEL DEFENDANT
  NEXSTAR TO PRODUCE DOCUMENTS IDENTIFIED BY CERTAIN PROPOSED
                    SEARCH TERMS UNDER SEAL

        Plaintiffs hereby move this Court pursuant to Local Rule 26.2 for leave to file their

Motion to Compel Defendant Nexstar to Produce Documents Identified by Certain Proposed

Search Terms under seal. In support, Plaintiffs state as follows:

        1. Plaintiffs’ Motion to Compel references certain documents produced by Defendants

Nexstar, Gray Media Group LLC, Cox Media Group, LLC, and Griffin Communications, LLC in

this litigation.

        2. The Declaration of Nathaniel C. Giddings in Support of Plaintiffs’ Motion to Compel

(“Giddings Decl.”) attaches as exhibits those same documents.

        2. Pursuant to the Agreed Confidentiality Order, the parties are permitted to designate as

“CONFIDENTIAL” all “Confidential Information,” which may include: “(a) information

prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, commercial or financial information that the Party has maintained as confidential; (d)

medical information concerning any individual; (e) personal identity information; (f) income tax

returns (including attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel or

employment records of a person who is not a Party to the case.” ECF No. 194 at 1-2.
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       3. The Agreed Confidentiality Order further instructs that “[a]ny party wishing to file a

document designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with Local Rule 26.2” Id. at 9.

       4. The documents in question are designated as “CONFIDENTIAL” or

“CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

       5. Under Local Rule 26.2(c), “[a]ny party wishing to file a document or portion of a

document electronically under seal in connection with a motion, brief or other submission must

. . . move the court for leave to file the document under seal.” L.R. 26.2(c).

       6. In compliance with Local Rule 26.2(c), Plaintiffs will file a public-record version of

the Motion to Compel that redacts references to Confidential material and omits Confidential

documents attached to the Giddings Declaration.

       WHEREFORE, Plaintiffs request this Court grant them leave to file Plaintiffs’ Motion to

Compel Defendant Nexstar to Produce Documents Identified by Certain Search Terms and the

Declaration of Nathaniel C. Giddings in Support with exhibits thereto under seal.

Dated: September 15, 2021                     Respectfully submitted,

                                              /s/ Robert J. Wozniak
                                              FREED KANNER LONDON &
                                              MILLEN LLC
                                              Robert J. Wozniak
                                              Steven A. Kanner
                                              2201 Waukegan Road, Suite 130
                                              Bannockburn, IL 60015
                                              (224) 632-4500
                                              skanner@fklmlaw.com
                                              rwozniak@fklmlaw.com

                                              Plaintiffs’ Liaison Counsel




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                                   HAUSFELD LLP
                                   Megan E. Jones (admitted pro hac vice)
                                   600 Montgomery St. #3200
                                   San Francisco, CA 94111
                                   (415) 633-1908
                                   mjones@hausfeld.com

                                   Hilary K. Scherrer (admitted pro hac vice)
                                   Nathaniel C. Giddings (admitted pro hac vice)
                                   888 16th Street, N.W., Suite 300
                                   Washington, DC 20006
                                   hscherrer@hausfeld.com
                                   ngiddings@hausfeld.com

                                   Plaintiffs’ Lead Counsel

                                   ROBINS KAPLAN LLP
                                   Meegan Hollywood (admitted pro hac vice)
                                   Matthew J. Geyer
                                   399 Park Avenue, Suite 3600
                                   New York, NY 10022
                                   (212) 980-740
                                   mhollywood@robinskaplan.com
                                   mgeyer@robinskaplan.com

                                   Plaintiffs’ Steering Committee

                                   FREED KANNER LONDON &
                                   MILLEN LLC
                                   Kimberly A. Justice
                                   923 Fayette Street
                                   Conshohocken, PA 19428
                                   (610) 234-6487
                                   kjustice@fklmlaw.com

                                   Plaintiffs’ Steering Committee

                                   BLEICHMAR FONTI & AULD LLP
                                   Lesley E. Weaver (admitted pro hac vice)
                                   Anne K. Davis (admitted pro hac vice)
                                   555 12th Street, Suite 1600
                                   Oakland, CA 94607
                                   (415) 445-4006
                                   lweaver@bfalaw.com
                                   adavis@bfalaw.com

                                   Additional Plaintiffs’ Counsel
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